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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                        ANDERSON/GREENWOOD DIVISION

George Wheeler as Personal       )
Representative of the Estate of  )
Cole Wheeler,                    )              Case No. 8:19-cv-02132-DCC
                                 )
                      Plaintiff, )
                                 )
v.                               )                         ORDER
                                 )
Ford Motor Company,              )
                                 )
                      Defendant. )
________________________________ )

      This matter is before the Court on Defendant’s Motion for Summary Judgment.

ECF No. 69. The undersigned held a hearing on this Motion and other Motions pending

at the time on July 19, 2022. ECF No. 112. During the hearing, it became apparent that

Defendant had not been provided with the supplemental report of Plaintiff’s expert Mark

Arndt through an inadvertent oversight. Accordingly, the undersigned held a limited

portion of the Motion for Summary Judgment in abeyance, directed Plaintiff to produce

the supplemental report, and gave the parties an opportunity to provide supplemental

briefing on this limited issue.   ECF No. 117 at 98.       Upon receipt of the parties’

supplemental briefing, this Order follows. See ECF No. 114, 130. This Order is not

intended to be a complete statement of the Court’s findings or rulings and should be read

in conjunction with the Court’s discussion during the hearing.

      Upon review of the parties’ supplemental briefing, including Defendant’s

attachment of the supplemental report, the Court agrees with Plaintiff that the
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supplemental report does not substantially add to the parties’ initial briefing on

Defendant’s Motion for Summary Judgment. Accordingly, as discussed in the hearing, a

genuine issue of material fact remains as to Plaintiff’s claims related to the connection

between the fuel filler pipe and tank and the claim based on the tank location. Therefore,

summary judgment is inappropriate. 1

       The Court briefly notes that to the extent the parties require clarification of the

Court’s ruling on Defendant’s Motion to Exclude Mr. Arndt’s testimony, as stated above,

the supplemental report did not add anything substantial to the parties’ initial arguments.

Therefore, the Court directs the parties to its ruling denying this Motion. See ECF No.

117 at 48–83.

       Accordingly, the remainder of Defendant’s Motion for Summary Judgment [69] is

DENIED.

       IT IS SO ORDERED.

                                                        s/ Donald C. Coggins, Jr.
                                                        United States District Judge
August 18, 2022
Spartanburg, South Carolina




       1 As noted in the hearing, nothing in this ruling prevents counsel from raising a
suitable motion or objection at trial regarding this testimony if appropriate.

                                            2
